
SILBERMAN, Judge.
Raymond Branch, a committed person under part V of chapter 394, Florida Statutes (2000), entitléd “Involuntary Civil Commitment of Sexually Violent Predators” (the Act), seeks a writ of habeas corpus ordering his immediate release from confinement. Alternatively, he seeks a writ of mandamus ordering the trial court to comply with section 394.918(3) of the Act.
This case is governed by our holding in Allen v. State, 873 So.2d 576 (Fla. 2d DCA *7092004). Accordingly, we deny the petition for writ of habeas corpus and grant the petition for writ of mandamus. We direct the circuit court to hold a limited probable cause hearing pursuant to section 394.918(3), with counsel representing Mr. Branch as mandated, unless Mr. Branch has been afforded such a hearing in the last calendar year.
Petition for writ of habeas corpus denied; petition for writ of mandamus granted.
SALCINES and STRINGER, JR, Concur.
